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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CARRIE BAKER,                :
         Plaintiff,          :
                             :
      vs.                    :                    No. 1:22-cv-01481-SHR
                             :
GREEN THUMB INDUSTRIES INC., :
          Defendant.         :

                    JOINT STIPULATION OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby jointly stipulate,

through their respective counsel, to dismiss this matter with prejudice and without

costs or fees against any party.

                                              PILLAR+AUGHT

                                              /s/ John Martin
                                              By: John Martin
                                              Attorneys for Plaintiff

                                              LITTLER MENDELSON P.C.

                                              /s/ Tanner McCarron
                                              By: Tanner McCarron
                                              Attorneys for Defendant
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                        CERTIFICATE OF SERVICE

      I certify that the foregoing Joint Stipulation of Dismissal was served upon

the following via the Court’s ECF system on October 19, 2023:


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                                           /s/ John Martin
